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                                     #:2325


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 8                        UNITED STATES DISTRICT COURT
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                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11                                 WESTERN DIVISION
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13    BARRACUDA NETWORKS, INC.               Case No. 2:19-mc-00146-PSG (PJWx)
14                   Plaintiff,              [PROPOSED] ORDER GRANTING
15                                           NONPARTY j2 GLOBAL, INC.’S
            v.
                                             APPLICATION FOR LEAVE TO
16
      J2 GLOBAL, INC., and DOES 1            FILE UNDER SEAL
17    through 10, inclusive,
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                     Respondent.
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                                   [PROPOSED] ORDER
     Case 2:19-mc-00146-PSG-PJW Document 120-1 Filed 06/05/20 Page 2 of 2 Page ID
                                     #:2326


 1         Having read and considered Non-Party j2 Global, Inc.’s (“J2”) Application for
 2   Leave to File Under Seal and the Declaration of Steve Papazian submitted therewith,
 3   this Court finds that the motion should be granted.
 4         It is hereby ORDERED that the following portions of Non-Party J2 Global,
 5   Inc.’s Reply Brief re Fees and Costs, and exhibits in support thereof shall be filed
 6   under seal:
 7
 8    Document                                   Portions Sought to be Sealed
 9    NONPARTY j2 GLOBAL, INC.’S
10    REPLY BRIEF RE FEES AND                    2:6-8, 11:6-8, 12:2-15, 14:21-23
11    COSTS
12                                               Exhibit 1
13    DECLARATION OF STEVE                       Exhibit 2
14    PAPAZIAN IN SUPPORT OF                     Exhibit 11
15    NONPARTY j2 GLOBAL, INC.’S                 Exhibit 12
16    REPLY RE FEES AND COSTS                    Exhibit 14
17                                               Exhibit 15
18
19         IT IS SO ORDERED.
20
     Dated:
21
                                            By ____________________________
22                                             Hon. Patrick J. Walsh
23                                             United States Magistrate Judge
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                                             1        2:19-mc-00146-PSG (PJWx)
                                     [PROPOSED] ORDER
